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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                CRIMINAL NO. 20-055

 VERSUS                                                  SECTION “F”
                                                         JUDGE MARTIN L.C. FELDMAN
 JASON R. WILLIAMS
 NICOLE E. BURDETT                                       MAGISTRATE (4)
                                                         MAGISTRATE JUDGE ROBY


                      MEMORANDUM IN SUPPORT OF
       MOTION FOR DISCOVERY, EVIDENTIARY HEARING, AND TO DISMISS

         Councilman Jason Williams and Nicole Burdett submit this Memorandum in support of

their Motion for Discovery, for an Evidentiary Hearing, and to Dismiss.

                                  THE FACTS OF THE CASE

    1. Councilman Williams’ campaign for District Attorney of Orleans Parish.

         For more than three years, Councilman Williams has been campaigning for District

Attorney for Orleans Parish. That election will take place on November 4, 2020.

         In February 2017, the incumbent’s long-time political advisor Billy Schultz texted

Councilman Williams’ campaign manager that his “Intel Network tells [him] that JW is telling

his peeps that he is not running for mayor, but in fact, running for DA. FYI: we faced that once

and are more than prepared to deal with it again,” and that they were “PREPARED FOR

WAR!!!!!!!!!!! ” See Exh. A, Schultz Text. Schultz—a former police officer who himself was

convicted of tax offenses—told Councilman Williams in person that he would “cut off your

balls” if Councilman Williams ran for District Attorney.

         Schultz knows the playbook: in his letter for his own sentencing, Schultz wrote that his

ex-wife “went to the FBI with false stories about former Mayor Marc Morial and me being

involved in a money laundering scheme. As you can imagine, as soon as she mentioned Mr.

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Morial, a file was opened and an intensive investigation began on me,” and the “end result was

an extensive investigation by the IRS,” “front page articles written about [him],” his “reputation .

. . tarnished,” and his “political consulting business” destroyed. See Exh. B, Schultz Sentencing

Letter to Judge Lemmon. The incumbent also knows the playbook: his wife wrote that Schultz

had “managed [her] husband’s campaigns” for judge and “more than that, has been like a brother

to him for the past twenty years.” See Exh. C, Cannizzaro Sentencing Letter to Judge Lemmon.

         Since Schultz’s threat of “WAR” against Councilman Williams in 2017, the Government

has investigated a person, not a crime. Now, on the eve of Councilman Williams’ formal

qualification as a candidate for District Attorney, the Government has rushed to indict

Councilman Williams and his law partner, private citizen Nicole Burdett, in the midst of the

COVID-19 pandemic that led this Court to suspend grand juries until August 1, 2020 and jury

trials until October 5, 2020.

    2. The fraudulent “CPA” against whom Councilman Williams and Ms. Burdett have
       obtained a preliminary injunction and the Government’s rush to criminally indict
       without first initiating an IRS audit or civil process.

         The case centers on a tax preparer, Henry “Bubby” Timothy, who is facing his own,

separate criminal tax investigation. Mr. Timothy fraudulently represented himself to be a

certified public accountant when meeting with and billing Councilman Williams and Ms. Burdett

for his services, which included reviewing their business records and deciding what expenses

could properly be claimed as business deductions on Schedule C. Councilman Williams and Ms.

Burdett sued Timothy in Civil District Court and on June 25, 2020 obtained a preliminary

injunction barring Timothy from “[r]epresenting, whether verbally or in writing, that [he] is

licensed as a Certified Public Accountant, or has been licensed at any time as a Certified Public




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Accountant,” and from “[a]dvertising to provide the services of a Certified Public Accountant.”

See Exh. D, Civil District Court Lawsuit and Order.

         Councilman Williams was initially contacted by an IRS special agent who wanted to

interview him as a victim of Timothy’s misconduct. The IRS special agent subpoenaed the

records of numerous other entitles for which Timothy acted as a CPA or tax preparer. Timothy

himself told Ms. Burdett that one aspect of the Government’s investigation was Timothy’s

underreporting of his own income on his own tax returns, which the Government detected by

analyzing the number of returns Timothy prepared on an annual basis, calculating the fees that

Timothy charged for those services, and comparing it to the income that Timothy reported for

himself. Timothy—finding himself in the cross-hairs of a federal investigation—decided to lie

to help himself, and to help the Government make a case against the person—Jason Williams—

where there was no crime.

         The Government decided to ignore Timothy’s wrongdoing, to bypass the IRS audit

process, and to forego civil process to resolve the tax errors that Timothy made on Councilman

Williams’ returns, and instead rushed to indict a New Orleans public official and—as collateral

damage—his law partner.

    3. The Government’s decision to indict during the second wave of COVID-19, while
       the Court’s General COVID-19 Orders have suspended jury trials and grand juries,
       and on the eve of qualification for the DA race, has interfered in the democratic
       process, impaired the ability to call a representative grand jury, and deprived
       Councilman Williams and Ms. Burdett of their rights to a speedy trial.

         In the week that the Government obtained the indictment, cases of COVID-19 were

increasing across the State and the Eastern District. Without any legitimate reason to rush the




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indictment—the tax charges are not close to being prescribed1 and the case certainly does not

implicate matters of public safety—the Government pushed ahead, apparently filing a motion

with Chief Judge Brown to request special permission to convene a grand jury. See COVID-19

General Order No. 20-6 (April 24, 2020). The government claims the reason for the rush was an

internal policy of the Tax Division that cases are to be indicted as soon as possible after the

Division approves a case. We are skeptical.

         The COVID-19 pandemic has disproportionately impacted both Orleans Parish, which

suffered some of the highest rates of infection and mortality in the country, and African

Americans. The Court’s COVID-19 General Order acknowledges the adverse impact that

COVID-19 has had on the Court’s ability to “obtain an adequate spectrum of jurors” to serve on

petit juries. See COVID-19 General Order No. 20-9 (June 26, 2020). This, of course, has

constitutional implications: Councilman Williams and Ms. Burdett are constitutionally entitled to

be charged only upon presentment to a grand jury that is comprised of a cross-section of the

community and which was convened free of racial discrimination.

         Councilman Williams and Ms. Burdett are also constitutionally and statutorily entitled to

a speedy trial. At arraignment, the Court set their trial for September 14, 2020 consistent with




         1
          Count 1 charges a §371 conspiracy, which carries a 6-year statute of limitations, to
“imped[e], impair[], obstruct[] and defeat[] the lawful government functions of the Internal
Revenue Service” that allegedly began “sometime in 2011 and continu[ed] through 2019.” See
Doc. 1, Indictment at ¶ 7; 26 U.S.C. § 6531(1). Counts 2-6 charge aiding and assisting in the
preparation of false returns in violation of 26 U.S.C. § 7206(2), which carries a 6-year statute of
limitations, for Form 1040s, the oldest of which was filed on October 15, 2014. See Doc. 1,
Indictment at ¶ 21; 26 U.S.C. § 6531(2). That is, it is only Count 2—which is separately alleged
as a manner and means and overt act in furtherance of the conspiracy charged in Count 1—that
would prescribe before the November 4, 2020 election. The tax loss alleged does not change
with Count 2. Counts 7-11 charge a failure to file Forms 8300 in violation of 31 U.S.C. §§ 5331
and 5322, which carries a 5-year statute of limitations, in 2017 and 2018. See Doc. 1, Indictment
at ¶ 22; 18 U.S.C. § 3282(a).
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the delays of the Speedy Trial Act. That date is, of course, an impossibility given the suspension

of jury trials until October 5, 2020, at the earliest. The Government’s decision to indict

Councilman Williams and Ms. Burdett when COVID-19 General Order 20-9 has suspended jury

trials until October 5, 2020, at the end of a two-week period in which COVID-19 cases are again

on the rise in the Eastern District, will likely result in further delays before jury trials can safely

resume, and virtually assures that they will be further deprived of their speedy trial rights.

         As more fully set forth below, Councilman Williams and Ms. Burdett request discovery

and an evidentiary hearing regarding (1) the empaneling of the grand jury, (2) the manner in

which a quorum was reached, and (3) the Government’s purported reasons for convening a grand

jury during the COVID-19 pandemic and immediately before Councilman Williams qualifies for

the District Attorney’s race. After due proceedings, Councilman Williams and Ms. Burdett seek

dismissal of the indictment against them.

                                    LEGAL RELIEF SOUGHT

    1. The Government indicted this case during a pandemic to ensure that Councilman
       Williams and Ms. Burdett will be deprived of their constitutional and statutory rights
       to a speedy trial and to achieve maximum interference in the race for Orleans Parish
       District Attorney.

         The Court’s COVID-19 Order suspends all criminal jury trials until October 5, 2020—

and well it should, given the effect of the COVID-19 pandemic on our community and the

resulting “reduced ability to obtain an adequate spectrum of jurors” and the restrictions “on the

ability of counsel and Court staff to be present in the courtroom.” See COVID-General Order

No. 20-9 (June 26, 2020). Given the increasing number of COVID-19 cases in the Eastern

District and the country as a whole in the weeks since the indictment was returned, we have

every reason to expect that trials will be continued even later.




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         But by securing and unsealing an indictment during a public health crisis (and without a

valid reason for the rush), the government has made it virtually impossible for Councilman

Williams and Ms. Burdett to obtain a speedy trial, because the Court has found “that the ends of

justice serviced by ordering the postponements” of jury trials and in-person hearings during a

deadly global health pandemic “outweigh the best interest of the public and any defendant’s right

to a speedy trial.” See COVID-19 General Order No. 20-9 (June 26, 2020). The deprivation of

the right to a speedy trial of course has constitutional implications as well. Barker v. Wingo, 407

U.S. 514, 530 (1972). Here, the effect is to prevent Councilman Williams and Ms. Burdett from

forcing the Government to present its shoddy evidence at trial before the November 4, 2020

election for Orleans Parish District Attorney.

         Perhaps anticipating these speedy trial concerns, the Court has allowed the Government

to convene a grand jury only if the Government files a motion and permission is granted by the

Court. See COVID-19 General Order No. 20-6 (April 24, 2020). What was the purported

justification to convene a grand jury during this health crisis, at a time in which the Court

recognizes a “reduced ability to obtain an adequate spectrum of jurors,” in a case that presents no

prescription concerns, safety concerns, or any other apparent reason to circumvent the Court’s

General Order? Councilman Williams and Ms. Burdett ask the Court to order production of the

Government’s motion and any related pleadings or orders to examine the purported justification

for convening a grand jury less than three weeks before Councilman Williams formally qualifies

to run for District Attorney and in the midst of the COVID-19 health crisis.

         Of additional concern is violation of the Department of Justice’s own policies on

“Election Year Sensitivities,” which provide that

                [P]olitics must play no role in the decisions of federal investigators
                or prosecutors regarding any investigations or criminal charges.

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                Law enforcement officers and prosecutors may never select the
                timing of investigative steps or criminal charges for the purpose of
                affecting any election, or for the purpose of giving an advantage or
                disadvantage to any candidate or political party.

See Exh. E, Attorney General Memorandum for All Department of Justice Employees Concerning

Election Year Sensitivities (March 9, 2012).

         Qualifying for the November 3, 2020 election for Orleans Parish District Attorney is

scheduled for July 22, 2020. See La. R.S. 18:467; Act. No. 28 of the 2020 Louisiana Legislature.

The Government obtained its indictment of Councilman Williams on June 26, 2020—within

three weeks of Councilman Williams’ qualification.

         Since the incumbent D.A.’s political advisor threatened “WAR” against Councilman

Williams in 2017, Councilman Williams has learned of several vain, baseless, and now-

abandoned investigations into his lawful activities by federal law enforcement. Now Mr.

Williams stands accused of baseless tax charges in which the government has turned a blind eye

to the real culprit—the individual who misrepresented himself as a CPA and prepared Mr.

Williams’ tax returns. Where government misconduct is so intrusive and over-reaching as to

violate the principles of fairness and due process, dismissal is warranted. Rochin v. People of

California, 342 U.S. 165, 169, 173 (1952) (the court is to “exercise . . . judgment upon the whole

course of the proceedings . . . in order to ascertain whether they offend . . . canons of decency

and fairness,” and whether a prosecution is “brought about by methods that offend a ‘sense of

justice.’”); cf. United States v. Russell, 411 U.S. 423, 431-32 (1973) (recognizing that there may

be situations “in which the conduct of law enforcement agents is so outrageous that due process

principles would absolutely bar the government from invoking judicial processes to obtain a

conviction”).




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    2. The Court should determine whether the grand jury and/or grand jury quorum that
       returned the indictment during the COVID-19 pandemic reflects a fair cross-section

         The Government obtained the indictment in this case while an Executive Order is in

effect recommending that those at “higher risk of severe illness” stay home, at a time when

COVID-19 cases are increasing in every parish in the Eastern District, and when African

Americans have been disproportionately infected, hospitalized, and killed by this disease at rates

much higher than those of whites. The Court’s General COVID-19 Order No. 20-9 in fact

includes a finding that the Court has a “reduced ability to obtain an adequate spectrum of jurors.”

See COVID-19 General Order NO. 20-9 (June 26, 2020).

         By Executive Proclamation No. 74 JBE 2020, the Governor of Louisiana on June 4, 2020

ordered that individuals at higher risk of COVID-19 should stay at home except for certain

enumerated essential activities—a list that does not include showing up to reach a grand jury

quorum—and that all people should avoid groups of any size where social distancing is not

possible:

                A) All individuals who are at higher risk of severe illness from
                COVID-19 should stay at home, unless travelling outside the home
                for an essential activity, such as:

                       1) Obtaining food, medicine, and other similar goods
                       necessary for the individual or a family member of the
                       individual.

                       2) Obtaining medical care and treatment and other similar
                       vital services for an individual or a family member of the
                       individual.

                       3) Going to and from an individual’s workplace.

                       4) Going to and from the home of a family member.

                       5) Going to and from an individual’s place of worship.

                       6) Engaging in outdoor activity, provided individuals
                       maintain a distance of six feet from one another.

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                Those individuals who are at higher risk of severe illness, as
                designated by the Centers for Disease Control (CDC), are those with
                conditions such as asthma, chronic lung disease, compromised
                immune systems (including from smoking, cancer treatment, bone
                marrow or organ transplantation, immune deficiencies, poorly
                controlled HIV or AIDS, or use of corticosteroids or other immune
                weakening medications), diabetes, serious heart disease (including
                heart failure, coronary artery disease, congenital heart disease,
                cardiomyopathies, and hypertension), chronic kidney disease
                undergoing dialysis, liver disease, or sever obesity or those who are
                65 or older or living in a nursing home or long-term care facility.

                B) All individuals should avoid groups of any size that do not allow
                for moderate social distancing.

See Exh. F, Executive Proclamation No. 74 JBE 2020 (June 4, 2020), and extended by Exh. G,

Executive Proclamation No. 83 JBE 2020 (June 25, 2020).2

         The reality of COVID-19 is that it has disproportionately infected and killed African

Americans in Louisiana. According to data from the Centers for Disease Control and

Prevention, “age-adjusted hospitalization rates” for “non-Hispanic black persons” is

“approximately 5 times that of non-Hispanic white persons.” See Exh. H, CDC, COVID-19 in

Racial and Ethnic Minority Groups (June 25, 2020) (emphasis in original).3

         And while African Americans make up 32.8% of Louisiana’s population, they represent

52.79% of those who have died from COVID-19. See Exh. I, United States Census, Quick Facts

– Louisiana4; Exh. J, La. Dep’t of Health COVID-19 Dashboard (July 7, 2020)5. In Orleans

Parish, the disparity is even more stark: when deaths of nursing home residents are excluded,

African Americans make up 88% of those who died of COVID-19. See Exh. K, The Data



         2
         Available at https://gov.louisiana.gov/assets/Proclamations/2020/74-JBE-2020-State-of-
Emergency-COVID-19-Resilient-Louisiana-Phase-2.pdf (last accessed July 6, 2020).
       3
         Available at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/racial-
ethnic-minorities.html (last accessed July 6, 2020).
       4
         Available at https://www.census.gov/quickfacts/LA (last accessed July 1, 2020)
       5
         Available at http://ldh.la.gov/Coronavirus/ (last accessed July 6, 2020).
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Center, Detailed data sheds new light on racial disparities in COVID-19 deaths (June 25,

2020).6

          The Government sought special dispensation from Chief Judge Brown to convene a

grand jury at the end of a week in which cases of COVID-19 were rising across the Eastern

District, Louisiana as a whole, and our neighboring states. The parishes that make up the Eastern

District are grouped by the Louisiana Department of Health into in Regions 1 (New Orleans), 3

(South Central), and 9 (Northshore) for COVID-19 and other public health purposes. By June

22, COVID-19 cases were on the rise in all three regions, and incidence of COVID-19 was

“High” in Region 1 and Region 9, and “Moderately High” in Region 3:




          6
         Available at https://www.datacenterresearch.org/reports_analysis/lack-of-data-obscures-
true-levels-of-racial-inequity-in-covid-deaths/ (last accessed July 6, 2020).
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See Exh. L, Governor’s COVID-19 Brief (June 22, 2020).7

         By late June, the Louisiana Department of Health reported that 91-95% of new COVID-

19 cases were tied to community spread rather than congregate settings like nursing homes or

jails—reflecting that grand jury service and other settings in which individuals are forced to be in

close quarters for extended periods of time poses a significant health risk which, as discussed

above, is particularly acute for African Americans in the Eastern district. See Exh. M, La. Dep’t

of Health, Health Dep’t reports 1,354 new COVID-19 cases (June 26, 2020)8; Exh. N, La. Dep’

of Health, Health Dep’t reports 1,356 new COVID-19 cases (June 24, 2020).9




         7
         Available at https://gov.louisiana.gov/assets/docs/covid/govCV19Brief-6-22-20.pdf (last
accessed July 1, 2020).
       8
         Available at http://ldh.la.gov/index.cfm/newsroom/detail/5655 (last accessed July 6,
2020).
       9
         Available at http://ldh.la.gov/index.cfm/newsroom/detail/5650 (last accessed July 6,
2020).
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         “[R]acial discrimination in the grand jury selection process ‘strikes at the fundamental

values of our judicial system and our society at whole,’ [and] it is well-established that a criminal

defendant has suffered an equal protection violation when he is indicted by a grand jury that is

the product of such discriminatory process.” Rideau v. Whitley, 237 F.3d 472, 484 (5th Cir.

2000) (quoting Rose v. Mitchell, 443 U.S. 545, 556 (1979)).

         A criminal conviction “cannot stand under the Equal Protection Clause of the Fourteenth

Amendment if it is based on an indictment of a grand jury from which African-Americans were

excluded on the basis of race.” Rideau, 237 F.3d at 484. 205 F.3d 809 An equal protection

violation occurs when “the procedure employed resulted in substantial underrepresentation” of

the members of a particular race or . . . identifiable group.” Id. at 485. A system to select a

grand jury that “arbitrarily excludes from service the members of any race” also “denies [a

defendant] due process of law.” Peters v. Kiff, 407 U.S. 493, 504 (1972).

         Both Councilman Williams, who is black, and Ms. Burdett, who is white, have “the

requisite standing to raise equal protection and due process objections to discrimination against

black persons in the selection of grand juries.” Id. (citing Campbell v. Louisiana, 523 U.S. 392,

397-401 (1998) (white defendant has standing to raise racial discrimination against black people

in the constitution of the grand jury)). And the Sixth Amendment provides them with the “right

to a grand jury which represented a fair cross-section of the community.” Murphy v. Johnson,

205 F.3d 809, 818 (5th Cir. 2000).

         Even if the grand jury as a whole were convened free of racial discrimination, the process

of selecting the individual or group of grand jurors who perform anything more than a

“ministerial” function must likewise be free from racial discrimination for any resulting

indictment to be free from constitutional taint. Cf. Hobby v. United States, 468 U.S. 339, 345



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(1984) (foreman’s duties are merely “ministerial” and thus discrimination in selection of a

foreman do not implicate constitutional concerns). The quorum that is required to return a true

bill is “so significant to the administration of justice that discrimination in” reaching that quorum

“impugns the fundamental fairness of the process itself so as to undermine the integrity of the

indictment.” Id.

         The effect of the Governor’s Order that those “who are at higher risk of severe illness

from COVID-19 should stay at home, unless travelling outside the home for an essential

activity” together with the data that African Americans are, as a group, at higher risk of severe

illness and death from COVID-19 raises serious concerns whether the grand jury in this case was

appropriately constituted. The Government’s choice to summon a quorum of grand jurors during

the Governor’s stay-home order and despite the disproportionate impact of COVID-19 upon

African Americans in the Eastern District of Louisiana raises the specter that Councilman

Williams’ and Ms. Burdett’s constitutional equal protection, due process, and fair cross-section

rights have been violated.

    3. Councilman Williams and Ms. Burdett are entitled to discovery regarding the
       composition of the grand jury, the grand jury venire, and the purported justification
       given in the Government’s motion to convene a grand jury during the COVID-19
       crisis.

         Councilman Williams and Ms. Burdett seek discovery from the Department of Justice

and the Clerk of Court related to the composition of the grand jury and the quorum of the grand

jury that returned the indictment in the middle of the COVID-19 pandemic, and submit with their

Motion a proposed Order to the Government and Rule 17 subpoena to the Clerk of Court.

         The Court may order disclosure of a grand jury matter “at the request of a defendant who

shows that a ground may exist to dismiss the indictment because of a matter that occurred before

the grand jury.” Fed. R. Crim. Pro. 6(E)(ii) (emphasis added). “[D]isclosure is wholly proper

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where the ends of justice require it.” United States v. Socony-Vacuum Oil Co., 310 U.S. 150,

234 (1940).

         Councilman Williams and Ms. Burdett seek from the Department of Justice:

               1. All letters from representatives of the United States Attorney’s Office to the grand
                  jurors convening the grand jury that sat on June 26, 2020.

               2. All letters or other communications calling the grand jurors for service on June 26,
                  2020.

               3. A record of the races of the grand jurors who were summoned for service on June
                  26, 2020.

               4. A record of the races of the grand jurors who constituted the quorum on June 26,
                  2020.

               5. A record of the number of jurors who constituted a quorum.

               6. Any and all records of responses by jurors that they would not report on June 26,
                  2020, and the stated basis for their failure to report.

               7. Any motions, requests, or communications the Department of Justice submitted to
                  the Court seeking permission to convene the grand jury on June 26, 2020, and the
                  Order of the Court authorizing the grand jury.

         Councilman Williams and Ms. Burdett seek from the Clerk of Court:

               1. All letters or other communications calling the grand jurors for service on June 26,
                  2020.

               2. The demographic questionnaires for the grand jurors who were called for service
                  on June 26, 2020.

               3. A record of the races of the grand jurors who were summoned for service on June
                  26, 2020.

               4. A record of the races of the grand jurors who constituted the quorum on June 26,
                  2020.

               5.    Any records related to any grand jurors who were excused from service on June
                    26, 2020.




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         Councilman Williams and Ms. Burdett further request that the Court set this matter for

evidentiary hearing as soon as all parties may be safely present in the courtroom to take live

testimony.

                                              Respectfully submitted,

                                              s/William P. Gibbens
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                                              mmagner@joneswalker.com
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                                CERTIFICATE OF SERVICE

       I certify that on July 13, 2020, I electronically filed the foregoing pleading with the Clerk
of Court using the CM/ECF System, which will send a copy of the pleading to all parties via email.

                                              /s/ Michael W. Magner




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